
RAWLINSON, Circuit Judge,
dissenting:
I must respectfully dissent.
Our review of asylum rulings made by the BIA has been curtailed in recent years. We may now reverse BIA’s factual findings made in the context of ruling on an asylum application only if a contrary finding is compelled by the evidence. See Gonzalez-Hernandez v. Ashcroft, 336 F.3d 995, 998 (9th Cir.2003). We must also defer to the BIA’s interpretation of immigration law. See Vasquez-Lopez v. Ashcroft, 315 F.3d 1201, 1203 (9th Cir.2003).
Here is what the evidence in this case showed:
•The State Department has identified the Khalistan Commando Force (KCF), headed by Paramjit Singh Panjwar, and the Sikh Student Federation Faction (SSF) headed by Daljit Singh Bittu, as “terrorist Sikh organizations.”
• These organizations have engaged in robbery, murder, bombings, kidnappings, threats and general mayhem.
• Bittu has variously been sought for the assassination of relatives of India’s Vice-President, the assassination of an Indian Army General, and the largest bank robbery in India’s history.
• Bittu distributed weapons to various terrorist organizations, after receiving money from a source in the United States.
• The KCF has taken responsibility for a massacre of bus passengers, who were machine-gunned after the bus was forced from the road, and for a series of car bombings that left 300 dead and 1,200 injured.
• Panjwar and Bittu are described by the Petitioner, Cheema, as close person*993al friends on whose behalf he has raised thousands of dollars in the United States.
• Cheema has acted as a communications link to Bittu and Panjwar by routing telephone calls through his home in the United States, and thereby avoid detection by Indian authorities.
• Cheema served as a communications link during the kidnapping of the Romanian ambassador by Sikh terrorists.
• Cheema provided food and shelter to terrorists while they were fugitives from the police.
• Cheema’s wife functioned in his stead during his absence.
It is not difficult to connect the dots from Cheema and his wife to Panjwar to Bittu and back again. The BIA’s finding that Cheema materially supported terrorist activity is bolstered by substantial evidence, including Cheema’s own testimony.
A finding that Cheema provided material support to major international terrorists in turn substantiates the BIA’s finding that Cheema and his wife threaten the security of this country. Car bombings, assassinations of government officials, massacres — world wars have begun with less impetus. See Zenith Radio Corp. v. Matsushita Elec. Indus. Co., 494 F.Supp. 1190, 1219 (E.D.Pa.1980) (“On June 28, 1914, the assassination in Sarajevo of Archduke Franz Ferdinand of Austria-Hungary set off a chain of events that within a few months embroiled all Europe in World War I.”); see also M. Cherif Bassiouni, World War I: “The War to End All Wars” and the Birth of a Handicapped International Criminal Justice System, 30 Denv. J. Int’l L. &amp; Pol’y 244, 244 (2002) (“The trigger for [World War I] was an incident that occurred in the volatile Balkans on June 28, 1914, in which Archduke Franz Ferdinand and his wife were assassinated by Gavrilo Princip as they rode in a car in Sarajevo”).
Contrary to the majority’s apparent view, our country should not become a haven for those who desire to foment international strife from our shores. I would deny the petition.
